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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF KENTUCKY
                        COVINGTON DIVISION


 State of Tennessee; Commonwealth
 of Kentucky; State of Ohio; State of
 Indiana; Commonwealth of
 Virginia; and State of West Virginia,

             Plaintiffs,

 and

 Christian Educators Association         Case No. 2:24-cv-00072-DCR-CJS
 International; A.C., by her next friend
 and mother, Abigail Cross,              District Court Judge Danny C. Reeves
                                         Magistrate Judge Candace J. Smith
             Intervenor-Plaintiffs,

       v.

 Miguel Cardona, in his official
 capacity as Secretary of Education; and
 United States Department of
 Education,

            Defendants.


                  SUPPLEMENTAL DECLARATION OF A.C.




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      I, A.C., under penalty of perjury, declare as follows:

      1.       I am a 15-year-old resident of Bridgeport, West Virginia, in Harrison

County, and have personal knowledge of the information below.

      2.       I am a female, rising tenth-grade student at Bridgeport High School

(BHS) where I compete on the girls’ track and field team.

      3.       In sixth through eighth grade, I attended Bridgeport Middle School

(BMS). In seventh grade (the 2021–22 school year), I joined the girls’ track and field

team. Another BMS student named B.P.J. joined the girls’ track and field team.
B.P.J. is a male who identifies as a girl. During those two years in middle school, I

competed against B.P.J. in both shot put and discus and interacted with B.P.J. daily

at weekday practices and meets.

      4.       I knew B.P.J. was a male identifying as a female, and I felt

uncomfortable changing in the same locker room as B.P.J. One day our school shut

down the girls’ locker room and we all had to use the girls’ bathroom to change. I

didn’t want to change with a male in the bathroom, so I decided to practice in the

clothes I was wearing to school that day.

      5.       I usually change into shorts for our outdoor track and field practice

because it is so warm outside. But that day, I wore my leggings to practice because I

felt so uncomfortable changing with a male in the girls’ restroom.

      6.       Other girls had similar concerns. One of my other teammates routinely

wore her practice clothes to school because she did not want to share a locker room

with a male.

      7.       Throughout the season, our coaches and administrators acted like the

situation was normal, even though it was not. Although I still felt uncomfortable
changing with a male in the girls’ restroom and locker room, I couldn’t continue

wearing my school clothes to practice.


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      8.     I was forced to change with a male in the girls’ restroom because there

was no other option for me.

      9.     Even when we were not changing, but simply using the restroom, I still

did not feel right about a male sharing the restroom with me.

      10.    When we traveled to other schools for track and field meets, we usually

used one big bathroom that all the visiting schools shared. These restrooms were

usually just big rooms filled with many stalls to accommodate girls from different

schools.

      11.    Track and field practices and meets are not the only school sponsored

events where I need to change my clothes. I also have to change my clothes for the

band when I go to practice and when I travel to other schools to compete. I am on

the Frontline with my band and also play the trumpet. Frontline is similar to color

guard. We travel with the band and perform routines while the band plays. There

are times in the year when I perform with Frontline and other times when I just

play the trumpet.

      12.    When I perform with Frontline, I wear a different uniform than the

band. The Frontline uniform is a skin-tight outfit that requires us girls to change

most of our clothes. The band’s uniform is loosely fit and can be worn over a pair of

shorts and a T-shirt.

      13.    When the band travels to other schools to compete, sometimes we have

to change on the bus. The rest of the band will leave the bus, leaving just the girls

on the bus to change into our uniforms for Frontline.

      14.    Other times, the school we are visiting will provide a classroom for the

band to change in. When that happens, the band will leave the room, giving the

girls more privacy to change into our uniforms. When we change on the bus or in a

classroom, we all change in one room in front of each other because we are all girls

and it is not uncomfortable.


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      15.     I would not want to change on the bus or in a separate classroom if

there was a boy identifying as a girl in the room with us. Because our uniforms are

tighter than the bands’ uniforms and we have to change most of our clothing, I

would not feel safe with changing in front of a boy.

      16.     This past year, the band traveled to Disney World for a week-long trip.

When we were on the trip, four of us girls shared one hotel room. There were two

queen beds, and two girls slept in each bed. No adult was in the room with us, and

we all shared the bathroom.

      17.     When we changed, we just changed in the hotel room and did not go

into the restroom to change our clothes.

      18.     The band goes on an overnight trip once a year, and we will be going

on another trip this coming year. I would not feel comfortable sharing a room, a bed,

or a restroom with a male who identifies as a female.

      19.     This past year, I also traveled to Charleston, West Virginia, with the

student government. My school selected two girls and two boys to travel to

Charleston for three days. I was selected as one of the girls to participate in this

program through a competitive process of tests and essays. We had the opportunity

to tour the capitol, speak to senators, and learn more about the West Virginia

government.

      20.     When I was on the trip, the other girl from my school and I shared a

hotel room with two girls from another school in West Virginia. We shared two

queen beds and the restroom with the other two girls in our room. There was no

adult to supervise us in the room.

      21.     I would have felt uncomfortable if I was forced to share the hotel room

with a male identifying as a female.

      22.     It is frustrating that I was forced to endure uncomfortable situations

and be displaced by a male who was allowed onto the girls’ track and field team.


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Knowing that B.P.J. will be in high school with me next year makes me reluctant to

want to continue competing on the track and field team or be involved with the

band.

         23.   Not only did I miss out on opportunities to compete and have to share

my private space with a male, but I also did not attend my eighth-grade award

night. At the end of each year, the track and field team holds a banquet to celebrate

the accomplishments of the team for the past year.

         24.   Eighth grade was the year that I lost out on the opportunity to

compete in the Mid Mountain Championship, and I was subjected to sexually–

harassing comments.

         25.   I had felt frustrated and uncomfortable all year in track and field

because of B.P.J.’s involvement, and I didn’t want to face another situation that

could cause me any awkwardness or stress. I decided not to attend the banquet

because of these circumstances.

         26.   Because I did not attend, I did not receive my ribbons when the other

members of my team did. I received my ribbons in an envelope at school after the

event.

         27.   My eighth-grade banquet is just another example of the opportunities I

missed out on because a male was allowed on the girls’ team.




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               DECLARATION UNDER PENALTY OF PERJURY

      I. A.C., a citizen of the United States and a resident of the State of West
\'uginia, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that
the foregoing is true and correct to the best of my knowledge.

      Executed this \ 1    day of July. 2024 at Bridgeport, West Virginia.




                                       A.C.




                                          6                Intervenor-Pls. MSJ 096
